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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

Plaintiff,
v. CIVIL ACTION NO.
HANK’S FURNITURE, INC., COMPLAINT

Defendant.

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JURY TRIAL DEMAND
NATURE OF THE ACTION

This is an action under Title VII of the Civil Rights Act of 1964, as amended,
42 U.S.C. § 2000¢, et seq. (“Title VII"), and Title I of the Civil Rights Act of 1991,
42 U.S.C. § 1981la, against Defendant Hank’s Furniture, Inc. (“HFT”) to correct
unlawful employment practices on the basis of religion and to provide appropriate
relief to Kaitlyn M. O’Neal (“O’Neal”) who was adversely affected by such
practices. As alleged with greater particularity below, the United States Equal
Employment Opportunity Commission (“EEOC” or “the Commission”) alleges HFI
violated Title VII by refusing to accommodate O’Neal’s request for a religious
exemption to the company’s COVID-19 vaccine mandate and, as a result, discharged

her for her failure to be vaccinated.
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JURISDICTION AND VENUE

Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331, 1337,
and 1345. This action is authorized and instituted pursuant to Section
706(£)(1) and (3) of Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000e-5(f)(1) and (3) and pursuant to Section 102 of the Civil Rights

Act of 1991, 42 U.S.C. § 1981(a).

. The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Northern District of

Florida, Pensacola Division.

. Plaintiff, the Equal Employment Opportunity Commission, is the agency of

the United States of America charged with the administration, interpretation
and enforcement of Title VII and is expressly authorized to bring this action
by Sections 706(f)(1) and (3) of Title VH, 42 U.S.C. § 2000e-5(f)(1) and (3).
At all relevant times, HFI has continuously been organized as an Arkansas
corporation, has continuously been doing business in the State of Florida, in

Escambia County, and has had at least 15 employees.

. At all relevant times, HFI has continuously been an employer engaged in an

industry affecting commerce under Sections 701(b), (g), and (h) of Title VII,

42 U.S.C. §§ 2000e(b), (g), and (h).
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ADMINISTRATIVE PROCEDURES

6. More than thirty days prior to the institution of this lawsuit, O’Neal filed a
charge with the Commission alleging violations of Title VII by HFI.

7. On July 31, 2023, the Commission issued a Letter of Determination to HFI
finding reasonable cause to believe that Title VII was violated and inviting
HFI to join with the Commission in informal methods of conciliation to
endeavor to eliminate the unlawful employment practices and provide
appropriate relief.

8. On August 11, 2023, the Commission issued a Notice of Failure of
Conciliation to HFI advising it that the Commission was unable to secure from
HFI a conciliation agreement acceptable to the Commission.

9. All conditions precedent to the institution of this lawsuit have been fulfilled.

STATEMENT OF CLAIMS

10.Since at least July 21, 2021, HFI has engaged in unlawful employment
practices in Escambia County, Florida in violation of 42 U.S.C. § 2000e-
2(a)(1).

11.HFI hired O’Neal to sell furniture on or about June 25, 2020, and promoted
her to Assistant Manager on or about January 28, 2021, in recognition of her

high level of performance.
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12.At no time prior to July 21, 2021, did HFI discipline O’Neal or informally
counsel her for any performance issues.

13.On or about July 21, 2021, HFI informed O’Neal it planned to implement
policies designed to encourage employees to be vaccinated against COVID-
19,

14.In conjunction with the implementation of these policies, HFI announced it
wanted all managers to immediately obtain the COVID-19 vaccine and asked
O’Neal about her vaccination status.

15.0’Neal told HFI she had no plans to be vaccinated against COVID-19.

16.On or about August 6, 2021, O’Neal told HFI she had sincerely held religious
beliefs that would not allow her to take the COVID-19 vaccine and stated she
wanted a religious exemption to the vaccination requirement.

17.On or about August 9, 2021, HFI sent internet articles to O’Neal in an effort
to convince her that her sincerely held religious beliefs were not scientifically
accurate.

18.On or about August 19, 2021, HFI contacted O’Neal to ask whether she
intended to comply with HFI’s COVID-19 vaccination policy.

19.0’Neal opposed HFI’s attempts to pressure her into taking the COVID-19
vaccine on August 19, 2021, explaining again that she could not violate her

sincerely held religious beliefs.
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20.Because HFI continued to ignore O’Neal’s verbal requests for
accommodation, she told HFI she planned to submit a written request for
religious accommodation and asked whether HFI had a particular form she
should use.

21.HFI did not respond to O’Neal’s request.

22,When O’Neal complained about the unjustness of HFI’s refusal to explain its
procedure to request religious accommodation, her new manager and direct
supervisor informed her that HFI did not care why she would not take the
COVID-19 vaccine, that HFI would never grant an accommodation, and that
if she did not take the vaccine, she would not remain in management.

23.On or about August 20, 2021, HFI announced all employees not vaccinated
for COVID-19 by October 31, 2021 would be terminated,

24.On or about August 26, 2021, O’Neal submitted a written request for religious
accommodation to HFI citing Title VII and listing her sincerely held Christian
beliefs which precluded her from being vaccinated against COVID-19.

25.HFI ignored O’Neal’s written request for religious accommodation.

26.Believing HFI was discriminating against her on the basis of her religion by
ignoring her request for religious accommodation, O’Neal continued to

respectfully confront HFI, asking it to respond to her accommodation request,
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including sending an email on or about September 6, 2021, asking for the
status of her written request for accommodation.

27.On or about September 14, 2021, HFI informed O’Neal she had not properly
requested a religious accommodation to HFI’s COVID-19 vaccine policy, that
it was “severely lacking,” and denying her request.

28.0’Neal asked for help to submit an acceptable religious exemption request,
but, at all times, HFI refused to discuss accommodating O’Neal’s sincerely
held religious beliefs.

29.At all times, HFI could have accommodated O’Neal’s sincerely held religious
beliefs without undue hardship.

30.On or about October 31, 2021, HFI terminated O’Neal’s employment due to
her failure to be vaccinated against COVID-19.

31.The effect of the practices complained of in Paragraph Nos. 10 through 30 has
been to deprive O’Neal of equal employment opportunities and otherwise
adversely affect her status as an employee because of her religion.

32.The unlawful employment practices complained of in Paragraph Nos. 10
through 30 were intentional and done with malice or reckless indifference to

the federally protected rights of O’Neal.
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PRAYER FOR RELIEF
Wherefore, the Commission respectfully requests that this Court:
. Grant a permanent injunction enjoining Defendant Hank’s Furniture, Inc., its
officers, agents, servants, employees, attorneys, and all persons in active
concert or participation with it, from failing to reasonably accommodate
sincerely held religious beliefs, from ignoring requests for religious
accommodation, from retaliating against employees who pursue religious
accommodation or oppose religious discrimination and from demoting or
discharging employees because of their religion.
. Order Defendant Hank’s Furniture, Inc. to institute and carry out policies,
practices, and programs which provide equal employment opportunities for
individuals with sincerely held religious beliefs that conflict with company
policy, absent undue hardship.
. Order Defendant Hank’s Furniture, Inc. to make O’Neal whole by providing
appropriate backpay with prejudgment interest, in amounts to be determined
at trial and other affirmative legal and equitable relief necessary to eradicate
the effects of its unlawful employment practices, including, but not limited to,
reinstatement or front pay in lieu thereof.
. Order Defendant Hank’s Furniture, Inc. to make O’Neal whole by providing

compensation for any past and future pecuniary losses, including medical
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expenses and job search expenses, if any, resulting from the unlawful
employment practices described in Counts 1 and 2 above, in amounts to be
determined at trial.

E, Order Defendant Hank’s Furniture, Inc. to make O’Neal whole by providing
compensation for any past and future nonpecuniary losses, resulting from the
unlawful employment practices described in Counts | and 2 above, including,
but not limited to, emotional pain and suffering, inconvenience, loss of
enjoyment of life, and humiliation, in amounts to be determined at trial.

F, Order Defendant Hank’s Furniture, Inc. to pay punitive damages for its
malicious and reckless conduct, as described in in Counts 1 and 2 above, in
amounts to be determined at trial.

G. Grant such further relief as the Court deems necessary and proper in the public
interest.

H. Award the Commission its costs in this action.

JURY TRIAL DEMAND
The Commission requests a jury trial on ail questions of fact raised by its

Complaint.

GWENDOLYN YOUNG REAMS
Acting General Counsel

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION
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